Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 1 of 8        PageID 563




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION

                                        :
AMISUB (SFH), INC. d/b/a SAINT          :
FRANCIS HOSPITAL and SAINT              :
FRANCIS HOSPITAL – BARTLETT, INC., :
                                        :   Case No. 2:21-cv-02308-JTF-atc
                            Plaintiffs, :
                                        :
                  v.                    :   JURY DEMAND
                                        :
CIGNA HEALTH AND LIFE INSURANCE :
COMPANY,                                :
                                        :
                            Defendant. :
                                        :

    CIGNA’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL DISCOVERY
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 2 of 8                     PageID 564




       Plaintiffs assume that the only relevant evidence of “reasonable value” for their out-of-

network (“OON”) emergency services are the amounts they receive from private payors, and that

the amounts they receive from government payors, non-commercial insurance products, or

uninsured patients (what Plaintiffs collectively call “Non-Commercial claims”) are all irrelevant.

(Pls.’ Opp., ECF No. 67 (“Opp.”) at 4.)         Plaintiffs cite zero Tennessee caselaw for this

proposition—which is not surprising, since that is not the law. Just the opposite: Tennessee courts

make clear that “there is no fixed formula for determining the reasonable value,” and that a broad

“range of evidence” informs that inquiry. See Bristol Anesthesia Servs., P.C. v. Carilion Clinic

Medicare Res., LLC, 2017 WL 9808013, at *1 (E.D. Tenn. Aug. 28, 2017) (“Bristol I”). That

broad range of evidence is exactly what Cigna seeks here, to test Plaintiff’s assertion that the

“reasonable” value for their services is 75% of their billed charges. (ECF No. 1, Compl. ¶¶ 8, 63.)

       Plaintiffs ignore that the relevancy standard for discovery is “extremely broad.” Miller v.

Fed. Express Corp., 186 F.R.D. 376, 383 (W.D. Tenn. 1999). The amounts that Plaintiffs accept

for their OON emergency services from sources other than private payors certainly are relevant to

whether it is reasonable for Plaintiffs to expect Cigna to pay 75% of their billed charges for those

exact same services. Plaintiffs’ attempts to explain why those other sources are different go to the

weight of such evidence in the reasonableness analysis, not to whether it clears the low bar for

relevance under Rule 26(b)(1). Plaintiffs have not shown that the amounts they received for Non-

Commercial Claims are irrelevant as a matter of law, and the Court should grant Cigna’s Motion.

                                          ARGUMENT

       Plaintiffs’ opposition is flawed for at least five reasons. First, Plaintiffs are wrong that

Cigna seeks irrelevant information. In determining the reasonable value of medical services,

Tennessee courts do not narrowly circumscribe that inquiry to just commercial payor amounts;

they consider a broad and open-ended “range of evidence.” (Mot. at 5-7; Bristol I, 2017 WL

                                                 1
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 3 of 8                       PageID 565




9808013 at *1-2.) That is why in Bristol, the court denied motions in limine that sought to exclude

evidence of plaintiff-provider’s Medicaid rates with a payor other than the defendant, as well as

evidence of defendant-payor’s rates for other similarly situated providers. Bristol I, at *1-2.

       Plaintiffs have no answer to this. They contend that Bristol is inapposite because it

involved patients covered by Medicaid. (Opp. at 5.) But in holding that “a range of evidence is

probative on what constitutes a reasonable value,” Bristol followed River Park Hosp., Inc. v.

BlueCross BlueShield of Tenn., Inc., 173 S.W.3d 43, 60 (Tenn. Ct. App. 2002), which in turn held

that many factors—including “in-network” and “out-of-network” rates, “industry custom,” and

“other[] [factors] that may be pertinent”—may all be considered in calculating the “reasonable

rate” for OON emergency services. Id. And in discussing “reasonable value” factors, neither

River Park nor Bristol made any distinctions between private and government insurance.

       Nor would it make sense to do so. Statutory amounts are plainly probative of what the

legislature that set those rates considered to be reasonable reimbursement for medical services.

This is why courts in other states have held that the reasonable value of a hospital’s services should

be calculated through a broad range of evidence (same as Tennessee), including government rates

specifically. Mot. at 7-8; e.g., Children’s Hosp. Central Cal. v. Blue Cross of Cal., 226 Cal. App.

4th 1260, 1274, 1277-78 (2014) (“a wide variety of evidence” is permitted in a quantum meruit

case, and “all rates that are the result of contract or negotiation, including rates paid by

government payors, are relevant to the determination of reasonable value” of a hospital’s services).

       Thus, the proper approach is to do exactly what Bristol did: allow this discovery to enable

Cigna to argue why these other payment sources are probative of the “reasonable value” of

Plaintiffs’ OON emergency services, and to let Plaintiffs explain why they disagree. 2017 WL

9808013, at *2 (“The evidence is relevant and can be explained by the parties.”). The answer



                                                  2
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 4 of 8                        PageID 566




certainly is not—as Plaintiffs suggest—for this Court to find that Non-Commercial payment

amounts are irrelevant as a matter of law to this inquiry. No Tennessee court has so held, and this

federal Court sitting in diversity jurisdiction should not create new Tennessee law. 1

       Nor can Plaintiffs distinguish Bristol by arguing that non-commercial payor rates there

were “persuasive because the patients were covered by Medicaid.” (Opp. at 5 (emphasis in

original) (citing Bristol Anesthesia Servs., P.C. v. Carilion Clinic Medicare Res., LLC, 2018 WL

1512932 (“Bristol II”), at *9, n.6 (E.D. Tenn. Mar. 26, 2018), as amended (Mar. 30,

2018), amended, 2018 WL 2976289 (E.D. Tenn. June 13, 2018).) Bristol II said that government

rates were “completely persuasive here precisely because the ‘class of patients’ at issue[] are

‘covered under Medicaid.’” Bristol II, 2018 WL 1512932, at *9, n.6. But Plaintiffs’ inverse

conclusion—that if no government insurance is involved, then government rates are not relevant—

does not follow.

       Second, Plaintiffs try to distinguish several of Cigna’s cases because they address the

reasonableness of providers’ billed charges, not payments. (Opp. at 6.) This is also unavailing.

There is indeed a big difference between billed charges and payments, but Plaintiffs’ theory here

is that “75% of [their] billed charges” was a “reasonable rate” for their OON emergency services.

(Compl., ECF No. 1 ¶ 63.) Given this theory, Cigna is entitled to discovery to test whether this

75%-of-billed-charges amount is indeed a “reasonable” rate—including by obtaining discovery to

evaluate what percentage of their billed charges the Hospitals accept from other payment sources


1
  Plaintiffs cite Dedmon v. Steelman, 535 S.W.3d 431, 451-53 (Tenn. 2017) to argue that there are
differences in reimbursements from commercial insurance, government payors, and the uninsured.
(Opp. at 6.) This is irrelevant, since Dedmon did not address “reasonable value” under Tennessee
law; instead, it observed there may be differences between providers’ billed charges and the
amounts of reimbursement they agree to accept. Id. at 452. Again, if there are in fact any such
differences here (e.g., if Plaintiffs are willing to accept more of a discount off billed charges from
uninsured patients than from Cigna), Cigna obviously needs discovery to test those differences.

                                                  3
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 5 of 8                      PageID 567




(like uninsured patients or government payors). That is just what Bristol I contemplated when it

said that Tennessee has “no fixed formula” for reasonable value. 2017 WL 9808013, at *1.

       Third, Plaintiffs’ reliance on Baker County Medical Services., Inc. v. Aetna Health

Management, LLC, 31 So. 3d 842 (Fla. Dist. Ct. App. 2010)—a case interpreting a Florida

statute—is entirely misplaced. (Opp. at 7-8.) Baker County addressed the meaning of the phrase

“usual and customary provider charges” under Fla Stat. § 641.513(5), interpreting it to mean the

“fair market value of the services provided,” which it defined as the “price that a willing buyer

will pay and a willing seller will accept in an arm’s-length transaction.” 31 So. 3d at 845. This

case has nothing to do with that Florida statute. Instead, Plaintiffs contend that they are owed the

“reasonable” value for their OON emergency services under Tennessee common law.

       Tennessee courts have never held that “reasonable” value of a medical service only means

the price from an arm’s-length transaction. Plaintiffs’ own Dedmon case from the Supreme Court

of Tennessee observed the opposite, in fact, explaining that: “medical expenses cannot be valued

in the same way one would value a house or a car, pegging the ‘reasonable value’ at the fair market

value, that is, the amount a buyer is willing to pay,” given that “[h]ealth care services are highly

regulated and rates are skewed by countless factors.” 535 S.W.3d at 461. Thus, unlike Florida,

Tennessee cases hold that reasonable value should be determined from a “range of evidence,” with

“no fixed formula.” Bristol I, 2017 WL 9808013 at *1; see River Park. Hosp., 173 S.W.3d at 60

(directing trial court to take into account a broad range of “factors . . . that may be pertinent” to

the “reasonable rate” inquiry). Plaintiffs’ “fair market value” standard—based on Baker County’s

interpretation of a Florida statute—is not only irrelevant, but inconsistent with Tennessee law.

       Fourth, Plaintiffs contend that the amounts they collect from uninsured patients are not

relevant because those patients “frequently pay little, if any” of the billed amounts. (Opp. at 3.)



                                                 4
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 6 of 8                       PageID 568




This is another assertion that Cigna is entitled to test with discovery, such as Plaintiffs’ policies

for such self-pay patients, as well as claims data that shows what those patients actually pay.

       Finally, the Court need not entertain Plaintiffs’ bald assertion that having to produce this

discovery would supposedly involve “significant burdens.” (Opp. at 3, 5.) Plaintiffs offer zero

specifics to explain why that is the case, and a “general statement that discovery is unduly

burdensome, without more, is simply not enough to prohibit discovery of otherwise relevant

information.” Anderson v. Dillard’s, Inc., 251 F.R.D. 307, 311 (W.D. Tenn. 2008); see also, e.g.,

Bros. Trading Co., Inc. v. Goodman Factors, 2016 WL 9781140, at *1 (S.D. Ohio Mar. 2, 2016)

(district courts in Sixth Circuit require resisting party “to demonstrate with specificity that a

discovery request is unduly burdensome.”); Gipson Mech. Contractors, Inc. v. U.A. Loc. 572 of

the United Ass’n., 2020 WL 8254820, at *3 (M.D. Tenn. Apr. 10, 2020) (following Anderson and

finding a party’s assertion that discovery was “burdensome” and “would take countless hours” to

produce to be “insufficient to establish undue burden.”).

       Plaintiffs’ vague complaints about burden are overstated in any event. As Cigna repeatedly

said over the course of the parties’ meet-and-confers, the documents and data Cigna seeks here

should be readily available in central repositories and do not require extensive custodial searches.

(Mot. at 5.) Plaintiffs never dispute this point with any substance. In fact, the parties have already

exchanged this paid-claims information for commercial claims, and the burden of Plaintiffs

producing additional categories of the same information will be minimal.

                                          CONCLUSION

       Cigna respectfully requests that the Court grant its Motion to Compel Discovery.




                                                  5
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 7 of 8       PageID 569




Dated: June 7, 2022          BUTLER SNOW LLP

                             By:    /s/ Andre B. Mathis
                                   Andre B. Mathis (#26458)
                                   andre.mathis@butlersnow.com
                                   6075 Poplar Ave, Suite 500
                                   Memphis, TN 38119
                                   T: 901.680.7299 | F: 901.680.7201

                                   MCDERMOTT WILL & EMERY LLP
                                   Joshua Simon (admitted pro hac vice)
                                   jsimon@mwe.com
                                   Warren Haskel (admitted pro hac vice)
                                   whaskel@mwe.com
                                   Dmitriy Tishyevich (admitted pro hac vice)
                                   dtishyevich@mwe.com
                                   Halle Landsman (admitted pro hac vice)
                                   hlandsman@mwe.com
                                   John J. Song (admitted pro hac vice)
                                   jsong@mwe.com
                                   Michael Murray (admitted pro hac vice)
                                   mmurray@mwe.com
                                   One Vanderbilt Ave
                                   New York, NY 10017
                                   T: 212.547.5533 | F: 646.390.2958

                                   Counsel for Defendant Cigna Health and Life
                                   Insurance Company




                                      6
Case 2:21-cv-02308-JTF-atc Document 71 Filed 06/07/22 Page 8 of 8                    PageID 570




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 7, 2022 a copy of the foregoing was electronically

filed with the Clerk of Court by using the Court’s CM/ECF system, which will send a Notice of

Electronic Filing to the parties listed on the Service List below:


                                                      /s/ Andre B. Mathis
                                                      Andre B. Mathis




                                         SERVICE LIST


 J. Blake Carter                                        Alan D. Lash
 blake@getclawfirm.com                                  alash@lashgoldberg.com
 Chris J. Tardio                                        Justin C. Fineberg
 chris@getclawfirm.com                                  jfineberg@lashgoldberg.com
 GIDEO, ESSARY, TARDIO & CARTER, PLC                    Greg J. Weintraub
 315 Deaderick Street, Suite 110                        gweintraub@lashgoldberg.com
 Nashville, TN 37238                                    Emily L. Pincow
 Telephone: 616.254.0400                                epincow@lashgoldberg.com
                                                        Justin C. Fineberg
                                                        jfineberg@lashgoldberg.com
                                                        Jonathan E. Siegelaub
                                                        jsiegelaub@lashgoldberg.com
                                                        William E. Baldwin
                                                        wbaldwin@lashgoldberg.com
                                                        Ashley P. Singrossi
                                                        asingrossi@lashgoldberg.com
                                                        LASH & GOLDBERG LLP
                                                        Miami Tower
                                                        100 S.E. 2nd Street, Suite 1200
                                                        Miami, FL 33131
                                                        Telephone: 305.347.4040
                                                        Facsimile: 305.347.4050

                                       Counsel for Plaintiffs




                                                  7
